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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS

 SYMBOLOGY INNOVATIONS, LLC,
                                                   Civil Action No.: 1:21-cv-00226-LY
             Plaintiff,

       v.                                          TRIAL BY JURY DEMANDED

 FIREHOUSE RESTAURANT GROUP, INC.,

              Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1), and hereby voluntarily dismisses all of the claims asserted against

Defendant Firehouse Restaurant Group, Inc. in the within action WITH PREJUDICE. Firehouse

Restaurant Group, Inc. has not served an answer or a motion for summary judgment.

Dated: June 11, 2021                               Respectfully submitted,

                                                   /s/ Andrew S. Curfman
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